CaSe 18-09350-.].](3-7A DOC 24 Filed 02/05/19 EOD 02/05/19 11202:02 PQ 1 Of 2

Fill in this information to identify your case:

Deb\orr Jeffery Lee Miles

First Name Midd|e Name Last Name

Debtor 2
(SpOuSe, if nlil'\g) First Name Middle Name Last Name

 

Unired Srates Bankruptcy Court for rhe; Southern District Of indiana

casenumber 18-093504JG-7 El Check rrthis rs an
"fk"°W"l amended filing

 

 

 

Official Form 108
Statement of lntention for lndividuals Filing Under Chapter 7 12/15

 

|f you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Hold Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’$ n Surrender the property n No

name: SAC Finance, |nc.
' ` ” n Retain the property and redeem it. Yes
Description of
property

securing debt:

Retain the property and enter into a
2011 Chevrolet Ma|ibu with 98,000 miles. Reaff/'rmation Agreement.

n Retain the property and [explain]:

 

 

Cred‘tor$ n Surrender the property m NO
name:
' n Retain the property and redeem it. n Yes
Description of
property
securing debt:

m Retain the property and enter into a
Reaffirmation Agreement.

n Retain the property and [explain]:

 

 

 

 

Credltor’$ m Surrender the property L:l NO
name:
a Retain the property and redeem it. l;l Yes
Descri tion of
proper{)y m Retain the property and enter into a
Securing debt Reaffirmation Agreement.
\;l Retain the property and [explain]:
Cr@dltor'$ m Surrender the property n NO
name: 1
` m Retain the property and redeem it. l;l Yes
De ' t` f
pm;oer:?ylon 0 m Retain the property and enter into a
Securing debt Reaff/'rmation Agreement.

El Retain the property and [explain]:

 

Official Form 108 Statement of lntention for individuals Filing Under Chapter 7 page 1

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Your name Jeffel'y Lee Mile$ Case number (lfknown)18-09350-JJG-7

First Name Middle Name Lasl Name

mist Your Unexpired Fersonal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessors name: Marta| |nc_ n NO
m Yes

Description of leased

_pr°perty: Lease Contract for Principa| ReSidenCe

 

 

 

 

 

Lessor’s name: Cl No

Description of leased n Yes

property:

Lessor’s name: El No

Description of leased n Yes

property:

Lessor's name: l;l No
n Yes

Descriptlon of leased

property:

Lessor's name: E| NO
m Yes

Description of leased

property:

Lessor’s name: El No

, , a ¥es

Descrrptlon of leased

property:

Lessor’s name: El No
';] Yes

Description of leased
property:

 

Under penalty of perjury, | declare that l have indicated my intention about any property of my estate that secures a debt and any
pers . l property that is subject to an unexpired lease.

X

Signature of Debtor 2

 

 

Date
MM/ DD / YYYY MM/ DD/ YYYY

Official Form 108 Statement of lntention for lndividua|s Filing Under Chapter 7 page 2

